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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION


UNITED STATES OF AMERICA

v.                                                 CRIMINAL NO. 3:08cr120HTW-LRA

DOMINIQUE SECHEREST



                             ORDER DISMISSING INDICTMENT

       BY LEAVE OF COURT endorsed hereupon, the Court grants the government’s motion

to dismiss the indictment with prejudice.


       SO ORDERED, this the 6th day of April, 2009.

                                                   s/ HENRY T. WINGATE
                                                   _________________________
                                                   HENRY T. WINGATE
                                                   United States Chief District Judge
